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          IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
                DISTRICT OF TENNESSEE, EASTERN DIVISION


    UNITED STATES OF AMERICA            )
                                        )
                                        )
    vs.                                 )   NO. 17-cr-10067-STA
                                        )
                                        )
    DAVID MATHIS                        )
                                        )
                Defendant.              )

      ORDER GRANTING MOTION TO CONTINUE CHANGE OF PLEA HEARING

          Upon the Motion to Continue of the Defendant, and the

    Government having no objection;

           IT IS HEREBY ORDERED THAT the Defendant’s Change of

    Plea presently set for February 5, 2018 @ 9:00 am is reset

    to March 9, 2018 at 10:00am.

          The intervening period is excludable under 18 U.S.C. §

    3161(h)(8)(B)(iv) because the ends of justice is served in

    allowing for counsel additional time to prepare outweigh

    the need for a speedy trial.

          IT IS SO ORDERED this 30th day of January, 2018.




                                    s/ S. Thomas Anderson
                                   S. Thomas Anderson
                                  CHIEF UNITED STATES DISTRICT JUDGE
